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                                                        UNITED STATES BANKRUPTCY COURT
                                                         FOR THE Western District of Michigan
  In re:         Rosie Lee Jones                                                                        Case No.20-00942
                 Adolph Jones                                                 ,                         Chapter 13
  Debtor(s).                                                                                            Hon. James W. Boyd
                                                                              /                         Filed: March 5, 2020

                                               FIRST PRE-CONFIRMATION AMENDED CHAPTER 13 PLAN


II. FUNDING

                A. PLAN PAYMENT The Debtor(s) shall make payments in the amount of $ 800.00 per                week,    bi-weekly,
                       semi-monthly,       month for the minimum of the ACP, subject to changes as set forth in paragraph II.B or
                   II.C, below, or until further order of the Court.

III. DISBURSEMENTS

                A. ADMINISTRATIVE CLAIMS. The Debtor(s) shall pay in full, in deferred cash payments, all allowed claims
                   entitled to priority under 11 U.S.C. § 507, including:

                     1. Court filing fee.

                     2. Trustee fee.

                     3. Attorney fees exclusive of costs and expenses: An initial fee of $ 3,200.00 less fees paid of $ 1,200.00,
                        leaving a fee balance in the amount of $ 2,000.00 to be disbursed by the Trustee pursuant to the priorities
                        set forth in paragraph IV.H of the Plan, unless otherwise marked below:

                             a.      Attorney fees shall be paid at the rate of $ 0.00 per month until paid in full pursuant to paragraph
                                  IV. H of the Plan.
                             b.      Attorney fees shall be paid after all necessary equal monthly payments on secured continuing
                                  claims, secured claims, assumed executory contract/unexpired lease claims which is a modification
                                  of paragraph IV.H.

                C. SECURED CLAIMS.

                     2. Personal Property:

                        a. Pre-Confirmation Adequate Protections Payments (APP): If the Trustee is to pay pre-confirmation
                           APP the secured creditor’s name, address, the account number and the payment amount must be
                           provided and it must be signified by entering the monthly payment amount in the box marked “Pre-Conf.
                           APP” under b. or c. of this paragraph. The Trustee will not disburse an APP until a proof of claim is filed
                           with documentation of a perfected lien satisfactory to the Trustee.

                        b. Secured Claims Subject to Final Paragraph of 11 U.S.C. § 1325(a): Each secured creditor in this class
                           has a lien that is not subject to 11 U.S.C. § 506viii Claims in this class shall be paid as follows plus an
                           additional pro-rata amount that may be available from funds on hand at an interest rate specified below or
                           the contract rate specified in the proof of claim, whichever is lower.




viii
       Such a claim is not subject to “cramdown” and will be paid the full balance owing. If the collateral is a motor vehicle and is destroyed, the Debtor(s), with consent from the
secured creditor and Trustee, or by order of the Court, may use the collateral insurance proceeds to purchase replacement collateral, to which the creditor’s lien shall attach.

                                                                                  1 - As updated on 4-21-2020

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    Creditor, Address & Account                                      Collateral                   Balance Owing Interest Pre-Conf Equal Monthly
    No.                                                                                                           Rate     APP      Payment
    Exeter Finance Corp.                               2013 Chevrolet Silverado                  $16,926.59                  5.99%          0.00            304.65
    PO Box 166008
    Irving TX, 75016

                    c. Secured Claims Subject to 11 U.S.C. •§ Section 506ix: Claims in this class shall be paid as follows plus
                       an additional pro-rata amount that may be available from funds on hand at an interest rate specified
                       below or the contract rate specified in the proof of claim whichever is lower. Creditor will be paid the
                       lesser of the balance due as a secured claim as set forth in the proof of claim, or the fair market value
                       (FMV) of the collateral as a secured claim, with any balance due over FMV treated as a general
                       unsecured claim.

    Creditor, Address & Account No.x                                    Collateral                            FMV           Interest        Pre-Conf Equal Monthly
                                                                                                                              Rate            APP      Payment
    Adventure Credit Union                                  2015 GMC Terrain                               $13,000.00      5.99%            $100.00         $250.00
    PO Box 895
    Grand Rapids, MI 49518

                                                THIS PLAN REMAINS UNCHANGED IN ALL RESPECTS
                                                   NOT IN CONFLICT WITH THESE AMENDMENTS

    Date: June 25, 2020                                                                         /s/ Rosie Lee Jones
                                                                                                Rosie Lee Jones                            , Debtor

    Date: June 25, 2020                                                                         /s/ Adolph Jones
                                                                                                Adolph Jones                               , Debtor

    Date: June 25, 2020                                                                         /s/ Jeffrey D. Mapes
                                                                                                Jeffrey D. Mapes P70509                    , Counsel for the Debtor(s)




ix
  If the collateral is a motor vehicle and is destroyed, the Debtor(s), with consent from the secured creditor and Trustee or by order of the Court, may use the collateral
insurance proceeds to purchase replacement collateral, to which the creditor’s lien shall attach.

x
 If the creditor files a proof of claim with a balance owing which is different from the amount listed above, the proof of claim shall control as to the amount of the debt, unless a
party in interest objects to the proof of claim.

                                                                             2 - As updated on 4-21-2020

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